       Case 1:23-cv-03077-MLB Document 20 Filed 11/17/23 Page 1 of 3




          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION

Grant Hudgens, et al.,

                       Plaintiffs,

v.                                     Case No. 1:23-cv-3077-MLB

JB Technologies, LLC, et al.,

                     Defendants.
________________________________/

                                ORDER

     Counsel for Defendants filed an Amended Motion to Withdraw as

Counsel of Record. (Dkt. 19.) No other party filed a response to the

motion and it is deemed unopposed. LR 7.1B, NDGa. Accordingly, the

Court GRANTS the motion (Dkt. 19) and DIRECTS the Clerk to

terminate attorneys Ian Smith and Whitney DuPree as counsel of record

for Defendants.

     The Court DIRECTS Defendants Michael S. Bruton and Thomas

Bruton, on or before December 18, 2023, to either (1) file a notice with

the Clerk stating that they intend to proceed pro se in this matter and

include their mailing addresses and telephone numbers, or (2) have

counsel file a notice of appearance with the Clerk.
       Case 1:23-cv-03077-MLB Document 20 Filed 11/17/23 Page 2 of 3




     The Court NOTIFIES Defendant JB Technologies, LLC that a

corporation cannot appear pro se and must be represented by counsel.

Palazzo v. Gulf Oil Corp., 764 F.2d 1381, 1385 (11th Cir. 1985). “This

rule applies even when the person seeking to represent the corporation

is its president . . . .” CNH Capital Am., LLC v. Se. Aggregate, Inc., No.

CV608-027, 2009 WL 1468999, at *1 (S.D. Ga. May 26, 2009) (quoting

F.T.C. v. Gem Merch. Corp., No. 95-8364, 1995 WL 623168, at *1 (11th

Cir. 1995)); see also LR 83.1E(2)(b)(I), NDGa.

     The Court ORDERS Defendant JB Technologies, LLC to have

counsel file a notice of appearance with the Clerk no later than December

18, 2023. Failure to comply with this order may result in sanctions

against Defendant JB Technologies, LLC, including an entry of default.

     The Court DIRECTS the Clerk to update the docket with the

following addresses and mail a copy of this order to Defendants:

Michael Bruton
JB Technologies, LLC
228 Columbia CV
Dallas, Georgia 30132

Thomas Bruton
4411 Fallowfield Lane
Lilburn, Georgia 30047




                                    2
       Case 1:23-cv-03077-MLB Document 20 Filed 11/17/23 Page 3 of 3




     The Court DIRECTS the Clerk to submit this matter after

December 18, 2023, if an attorney does not file a notice of appearance on

behalf of Defendant JB Technologies, LLC.

     SO ORDERED this 17th day of November, 2023.




                                    (1
                                    1
                                  MICH"K E L L. B R O W N




                                    3
